
ORDER
Considering the Joint Motion for Interim Suspension filed herein by Chief Disciplinary Counsel and William A. Porteous, III, counsel of record for respondent, FERNAND L. LAUDUMIEY, III,
IT IS ORDERED that FERNAND L. LAUDUMIEY, III be and he is hereby suspended from the practice of law in the State of Louisiana, pursuant to Rule XIX, Section 19, pending further orders of this Court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Rule XIX, Sections 11 and 19.
/s/ Catherine D. Kimball
JUSTICE, LOUISIANA SUPREME COURT
